Case: 23-50921            Document: 53-1         Page: 1      Date Filed: 08/26/2024




           United States Court of Appeals
                for the Fifth Circuit
                                   ____________
                                                                             United States Court of Appeals
                                                                                      Fifth Circuit
                                    No. 23-50921
                                  Summary Calendar                                  FILED
                                  ____________                                August 26, 2024
                                                                               Lyle W. Cayce
United States of America,                                                           Clerk

                                                                    Plaintiff—Appellee,

                                          versus

Laura Lizbeth Rivera Ramos,

                                            Defendant—Appellant.
                   ______________________________

                   Appeal from the United States District Court
                        for the Western District of Texas
                            USDC No. 5:22-CR-510-1
                   ______________________________

Before Jolly, Graves, and Oldham, Circuit Judges.
Per Curiam: *
       Laura Lizbeth Rivera Ramos entered a conditional guilty plea to one
count of conspiracy to transport aliens within the United States in violation
of 8 U.S.C. § 1324(a)(1)(A)(v)(I) and (b)(i) and was sentenced to 12 months
and one day of imprisonment, followed by two years of supervised release.
She reserved her right to appeal the denial of her motion to suppress evidence

       _____________________
       *
           This opinion is not designated for publication. See 5th Cir. R. 47.5.
Case: 23-50921        Document: 53-1       Page: 2    Date Filed: 08/26/2024




                                  No. 23-50921


discovered from the investigatory stop of her vehicle by Deputy Brandon
Rowe.
        When reviewing an order denying a motion to suppress, we review the
constitutionality of the stop de novo and factual findings by the district court
for clear error. United States v. Cervantes, 797 F.3d 326, 328 (5th Cir. 2015).
Review is “particularly deferential” in assessing the district court’s factual
findings “based on live oral testimony.” United States v. Ortiz, 781 F.3d 221,
226 (5th Cir. 2015) (internal quotation marks and citation omitted).
        The legality of a traffic stop is examined under the two-pronged
analysis described in Terry v. Ohio, 392 U.S. 1 (1968). United States v.
Brigham, 382 F.3d 500, 506 (5th Cir. 2004). This appeal centers on the first
Terry prong—whether the deputy’s decision to conduct an investigatory stop
was justified at its inception by reasonable suspicion. See id.        Traffic stops are supported by reasonable suspicion of unlawful
activity when the officer has “specific and articulable facts which, taken
together with rational inferences from those facts, reasonably warrant” the
seizure. Terry, 392 U.S. at 21. Reasonable suspicion is a “low threshold”
requiring only a “minimal level of objective justification.” United States v.
Smith, 952 F.3d 642, 648 (5th Cir. 2020) (internal quotation marks and
citation omitted). Courts will consider the totality of the circumstances,
including the experience and any specialized training the officer has. Id.Even ordinarily innocent behavior can help to establish a “composite picture
sufficient to raise reasonable suspicion in the minds of experienced officers.”
United States v. Jacquinot, 258 F.3d 423, 427-28 (5th Cir. 2001).
        Here, the totality of the circumstances established reasonable
suspicion. Rivera Ramos was intercepted in an area and at a time of high
human smuggling frequency. See United States v. Morales, 191 F.3d 602, 604-
05 (5th Cir. 1999); United States v. Orozco, 191 F.3d 578, 582 (5th Cir. 1999);




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                                 No. 23-50921


United States v. Soto, 649 F.3d 406, 409-10 (5th Cir. 2011). Furthermore, her
truck was riding low as if heavily loaded, and Deputy Rowe had prior
experience with human smuggling events involving many individuals in the
truck bed, which caused the back of the truck to be weighed down. See
Orozco, 191 F.3d at 582; Morales, 191 F.3d at 605-07.
       Deputy Rowe also testified that he momentarily observed individuals
concealed in the truck bed. See United States v. Varela-Andujo, 746 F.2d
1046, 1048 (5th Cir. 1982). Though Rivera Ramos argues that the dash
camera did not support Deputy Rowe’s testimony, Deputy Rowe testified
that the dash camera did not capture the moment of his observation.
Additionally, Rivera Ramos’s re-creation of the stop was not sufficiently
similar to the traffic stop to refute Deputy Rowe’s testimony.
       Thus, the traffic stop was justified at its inception based on reasonable
suspicion. See Brigham, 382 F.3d at 506; Ortiz, 781 F.3d at 226. Accordingly,
the judgment of the district court is AFFIRMED.




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